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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :       No.: 21-cr-386 (TNM)
                                                  :
                                                  :
         v.                                       :
                                                  :
PAULINE BAUER                                     :

                                      NOTICE OF FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files the discovery letter, dated July 8, 2021, in this case, which

was served as an attachment via the Court’s Electronic Filing System on counsel for the

Defendant.

                                                      Respectfully submitted,

                                                      CHANNING D. PHILLIPS
                                                      Acting United States Attorney


                                               By:    _____/s/ Vivien Cockburn________
                                                      VIVIEN COCKBURN
                                                      Assistant United States Attorney
                                                      U.S. Attorney’s Office
                                                      555 4th Street, NW
                                                      Washington, DC 20530
                                                      (202) 252-7245
                                                      Vivien.cockburn@usdoj.gov


                                      Certificate of Service

       I hereby certify that I caused a copy of the Notice of Filing and attached Discovery Letter
(without attachments) to be served upon defendant via counsel Carmen Hernandez by the
Court’s Electronic Filing System, and Notice of Filing and attached Discovery Letter (with
attachments) via email and/or USAfx on July 8, 2021.

                                                      ______/s/ Vivien Cockburn_____________
                                                      VIVIEN COCKBURN
                                                      Assistant United States Attorney
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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530

                                                      July 8, 2021

Pauline Bauer
c/o Carmen Hernandez, Esquire
717 D Street, NW Unit #310
Washington, D.C. 20004

                                      Re:     United States v. Pauline Bauer
                                              Case No. 21-cr-386 (TNM)

Dear Ms. Bauer:

       Please find enclosed initial discovery in the above-captioned case.

 I.    Plea Offer

               There is no plea offer at this time.

II.    Discovery

               Videos

               •    Body worn camera videos:
                      • Ofc. Matthew Lapitsky (x5)
                      • Ofc. Benjamin Rubin (x2)
                      • Ofc. Marina Bronstein (x1)
                      • Ofc. Travis Coley (x2)
                      • Ofc. Robert Marsh (x1)

    Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
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situated defendants, and citizen tips. The government is working to develop a system that will
facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

      III.      Government’s Discovery Requests

         I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant
disclose prior statements of any witnesses that defendant(s) intends to call to testify at any hearing
or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that
such material be provided on the same basis upon which the government will provide defendant(s)
with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant provide the government with the appropriate written notice if defendant(s)
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

      IV.       Other information:

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.


                                                         Sincerely,

                                                         CHANNING D. PHILLIPS
                                                         Acting United States Attorney

                                                         ___/s/Vivien Cockburn____________
                                                         Vivien Cockburn
                                                         Assistant United States Attorney
                                                         555 4th Street, N.W.,
                                                         Washington, D.C. 20530
                                                         (202) 252-7245
                                                         Vivien.cockburn@usdoj.gov

cc:          United States District Court Case File (without attachments)
